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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 ISELA CARMEAN,

                                 Plaintiff,            Case No: 20-cv-4589

            v.                                         Judge Marvin E. Aspen

 MACY’S RETAIL HOLDINGS, INC.,

                                 Defendant.


DEFENDANT MACY’S RETAIL HOLDINGS, INC.’S UNOPPOSED MOTION FOR AN
       EXTENSION OF TIME TO ANSWER OR OTHERWISE PLEAD

       Defendant Macy’s Retail Holdings, Inc. (“Macys”), by its attorneys, moves pursuant to

Federal Rule of Civil Procedure 6(b) for an extension of time to September 28, 2020 to answer the

Corrected Complaint (“Complaint”) or otherwise plead. In support of this Motion, Macys states:

       1.        Plaintiff filed her Complaint on July 10, 2020, and also filed a corrected Complaint

on August 14, 2020. On August 10, 2020, Macys was served with a copy of the original Complaint.

Macys’ responsive pleading is due on August 31, 2020.

       2.        Taft Stettinius & Hollister LLP recently was retained to represent Macys, and has

been diligently investigating the allegations of the Complaint.

       3.        Macys has contacted Plaintiff and asked for an extension of time of twenty-eight

(28) days to respond to the Complaint. Plaintiff, through her attorney, has indicated that she has

no objection to Macys’ request.
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         4.    This extension is not sought for the purposes of delay, and will not prejudice the

rights of any party.

WHEREFORE, Defendant Macys respectfully requests that this Court allow an extension to

September 28, 2020 for Macys to answer the Complaint or otherwise plead, and grant any other

relief that this Court deems appropriate.

 Dated: August 31, 2020                            Respectfully submitted,


                                                   /s/ Daniel R. Saeedi

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